Case 2:25-cv-01169-MWF-AGR         Document 41     Filed 02/26/25   Page 1 of 1 Page ID
                                        #:2141


1
2                                                                                    JS-6
3
4
5
6
7
8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   JASON DUNLAVEY, individually and as Case No. CV 25-1169-MWF(AGRx)
     Personal Representative of the Estate of
12   DAVID L. DUNLAVEY, Deceased; ERIC Los Angeles County Superior Court
     DUNLAVEY, an individual; TODD            Case No. JCCP 4675/24STCV19461
13   DUNLAVEY, an individual,
                                              ORDER GRANTING STIPULATION
14                     Plaintiffs,            TO REMAND ACTION TO STATE
                                              COURT AND DISMISS ACTION
15         v.
16   3M COMPANY, et al.,
17                      Defendants.
18
19         The Court has reviewed the Stipulation to Remand Action to State Court and
20   Dismiss Action (Docket No. 19), filed February 25, 2025. For good cause shown, the
21   Court finds that federal subject matter jurisdiction does not exist in this action and the
22   court GRANTS the request of Plaintiffs and Defendant National Steel and Shipbuilding
23   Company to remand the case to Los Angeles County Superior Court.
24         IT IS SO ORDERED.
25
26   Dated: February 26, 2025               _____________________________________
                                            MICHAEL W. FITZGERALD
27
                                            United States District Judge
28


                                            -1-
